         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:07CR15


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )             ORDER
                                        )
                                        )
TERESA DIMSDALE DORSEY                  )
                                        )


     THIS MATTER is before the Court on motion of Defendant’s counsel

to continue the sentencing hearing from the October 3, 2007, calendar.

     For the reasons stated by counsel and for good cause shown,

     IT IS, THEREFORE, ORDERED that counsel’s motion for

continuance is hereby ALLOWED, and this case is continued from the

October 3, 2007, calendar.

                                    Signed: October 3, 2007




   Case 1:07-cr-00015-MR-WCM   Document 154     Filed 10/03/07   Page 1 of 1
